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                                        ATTACHMENT B

                      DESCRIPTION OF PROPERTY TO BE SEIZED

       1.      The items to be seized are fruits, evidence, information, contraband, or

instrumentalities, in whatever form and however stored, relating to violations 18 U.S.C. § 372

(Conspiracy to injure an officer), 18 U.S.C. §§ 111 (a) and (b) (Assaulting an Officer of the United

States with a deadly or dangerous weapon); 18 U.S.C. § 2 (Aiding and Abetting), 18 U.S.C. § 231

(Civil Disorder); 18 U.S.C. § 1512(c)(2) (Obstruction of an Official Proceeding); 18 U.S.C. §

1752(a) and (b) (Physical violence on restricted grounds, while carrying dangerous weapon, and

resulting in significant bodily injury); 40 U.S.C. § 5104(e)(2)(F) (Violent Entry, Disorderly

Conduct and act of physical violence on Capitol Grounds) (the “Target Offenses”) that have been

committed by the SUBJECTS and other identified and unidentified persons, as described in the

search warrant affidavit; including, but not limited to;

            a. Evidence concerning planning to unlawfully enter the U.S. Capitol, including any
               maps or diagrams of the building or its internal offices;

            b. Evidence concerning unlawful entry into the U.S. Capitol, including any property
               of the U.S. Capitol;

            c. Evidence concerning awareness of the official proceeding that was to take place at
               Congress on January 6, 2021, i.e., the certification process of the 2020 Presidential
               Election;

            d. Evidence concerning efforts to disrupt the official proceeding that was to take place
               at Congress on January 6, 2021, i.e., the certification process of the 2020
               Presidential Election;

            e. Evidence relating to a conspiracy to illegally enter and/or occupy the U.S. Capitol
               Building on or about January 6, 2021;

            f. Evidence concerning the breach and unlawful entry of the United States Capitol,
               and any conspiracy or plan to do so, on January 6, 2021;
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       g. Evidence concerning the riot and/or civil disorder at the United States Capitol on
          January 6, 2021;

       h. Evidence concerning the assaults of federal officers/agents and efforts to impede
          such federal officers/agents in the performance of their duties the United States
          Capitol on January 6, 2021;

       i. Evidence concerning damage to, or theft of, property at the United States Capitol
          on January 6, 2021;

       j. Evidence of any conspiracy, planning, or preparation to commit those offenses;

       k. Evidence concerning efforts after the fact to conceal evidence of those offenses, or
          to flee prosecution for the same;

       l. Evidence concerning materials, devices, or tools that were used to unlawfully enter
          the U.S. Capitol by deceit or by force, including weapons and elements used to
          breach the building or to counter efforts by law-enforcement, such as pepper spray
          or smoke grenades;

       m. Evidence of communication devices, including closed circuit radios or walkie-
          talkies, that could have been used by co-conspirators to communicate during the
          unlawful entry into the U.S. Capitol;

       n. Evidence of the state of mind of the subject and/or other co-conspirators, e.g.,
          intent, absence of mistake, or evidence indicating preparation or planning, or
          knowledge and experience, related to the criminal activity under investigation; and

       o. Evidence concerning the identity of persons who either (i) collaborated, conspired,
          or assisted (knowingly or unknowingly) the commission of the criminal activity
          under investigation; or (ii) communicated with the unlawful actors about matters
          relating to the criminal activity under investigation, including records that help
          reveal their whereabouts.
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       2.        Records and information that constitute evidence of identity, including but not

limited to:

              a. clothing worn by the SUBJECT as described above;;

              b. clothing and other articles that reflect evidence of having participated in the
                 unlawful activity at the U.S. Capitol, including evidence of pepper spray or other
                 non-lethal crowd control remnants;

              c. Other paraphernalia used by or associated with the SUBJECT, to include chemical
                 spray, and backpack;

              d. Records and information that constitute evidence of the SSUBJECT’s possible

                 affiliation with Oath Keepers or other similar organizations;

       3.        Records    and   information—including      but    not   limited   to   documents,

communications, emails, online postings, photographs, videos, calendars, itineraries, receipts, and

financial statements—relating to:

              a. Any records and/or evidence revealing the SSUBJECT’s presence at the January 6,
                 2021, riot;

              b. Any physical records, such as receipts for travel, which may serve to prove
                 evidence of travel of to or from Washington D.C. from December of 2020 through
                 January of 2021;

              c. The SUBJECTS’s (and others’s) motive and intent for traveling to the U.S. Capitol
                 on or about January 6, 2021; and

              d. The SUBJECTS’s (and others’s) activities in and around Washington, D.C.,
                 specifically the U.S. Capitol, on or about January 6, 2021.

       4.        Digital devices used in the commission of, or to facilitate, the above-described

offenses, including cellular telephones.
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       5.      For any digital device which is capable of containing and reasonably could contain

fruits, evidence, information, contraband, or instrumentalities as described in the search warrant

affidavit and above, hereinafter the “Device(s)”:

            a. evidence of who used, owned, or controlled the Device(s) at the time the things

               described in this warrant were created, edited, or deleted, such as logs, registry

               entries, configuration files, saved usernames and passwords, documents, browsing

               history, user profiles, email, email contacts, chat, instant messaging logs,

               photographs, and correspondence;

            b. evidence of software, or the lack thereof, that would allow others to control the

               Device(s), such as viruses, Trojan horses, and other forms of malicious software,

               as well as evidence of the presence or absence of security software designed to

               detect malicious software;

            c. evidence of the attachment to the Device(s) of other storage devices or similar

               containers for electronic evidence;

            d. evidence of counter-forensic programs (and associated data) that are designed to

               eliminate data from the Device(s);

            e. evidence of the times the Device(s) was used;

            f. passwords, encryption keys, and other access devices that may be necessary to

               access the Device(s);

            g. documentation and manuals that may be necessary to access the Device(s) or to

               conduct a forensic examination of the Device(s);

            h. records of or information about Internet Protocol addresses used by the Device(s);
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       i. records of or information about the Device(s)’s Internet activity, including firewall

          logs, caches, browser history and cookies, “bookmarked” or “favorite” web pages,

          search terms that the user entered into any Internet search engine, and records of

          user-typed web addresses.
